                  Case 2:24-cv-00568-CB Document
                             UNITED STATES        21-1
                                           DISTRICT    Filed 05/16/25
                                                    COURT                       Page 1 of 2
                       WESTERN DISTRICT OF PENNSYLVANIA

 NGBO BONNY E-HOME CO.,                            Case No. 2:24-cv-00568
         LTD.
                                          DECLARATION IN SUPPORT OF
                                            REQUEST FOR ENTRY OF
                                                  DEFAULT
         Plaintiff,
            v.

ONDWAY, POOLCLEAN US
STORE, USA WAREHOUSE,
OWANJIE, INPOOL US STORE,
   DEWFOND, DIGIGER,
 OTOBUDDY STORE, and et al.
   Individual, Partnerships
        Defendants.




       1. I am the attorney for Plaintiff in this action.
       2. This action was commenced alleging the Defendants’ patent infringement.
       3. The Court’s Order No 7 allowed alternative service of the Summons and
          Complaint which was accomplished as in Return of Service in Order No 7 ,
          excluding Defendant Moto Buddy.
       4. The time for Defendants to answer or otherwise defend in this action was set
          by Court Order no. 13 as April 24 and April 25. That time has expired.
       5. None of the Defendants have answered or otherwise moved with respect to
          responding or defending from the Complaint. The time to do so has expired.
       6. Therefore, the following Defendants are in Default in this matter ONDWAY,
          POOLCLEAN US STORE, USA WAREHOUSE, BOWANJIE, INPOOL
          US STORE, DEWFOND, and DIGIGER.
       7. None of these defendants are known to be an infant or incapacitated.
          WHERERFORE, Plaintiff requests that the default of Defendants
          ONDWAY, POOLCLEAN US STORE, USA WAREHOUSE, BOWANJIE,
          INPOOL US STORE, DEWFOND, DIGIGE be entered in this matter.
          I declare under the penalty of perjury that the foregoing is true and accurate
          to the best of my knowledge.


             Date: May 16, 2025                        /s/ Patricia Ray
Case 2:24-cv-00568-CB   Document 21-1   Filed 05/16/25   Page 2 of 2
